                Case 17-70697 OFFICE
                              Doc 33 OF
                                      Filed
                                         THE07/12/18
                                              CHAPTER Entered  07/12/18 15:24:36
                                                          13 TRUSTEE                                        Desc     Page 1
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                                   JOHN H. GERMERAAD, TRUSTEE
                            For Cases Filed Under Chapter 13 in the United States Bankruptcy Court
                                                  Central District of Illinois

    Office Address                                                                                   Payment Address
    Office of the Chapter 13 Trustee                                                                 John H. Germeraad
    John H. Germeraad, Trustee                                                                       Chapter 13 Trustee
    P O Box 9768                                                                                     P.O. Box 1652
    Springfield, IL 62791                                                                            Memphis, TN 38101-1652
    Tel: (217) 670-1741 Fax: (217) 679-8581                                                          *Include case number
                                                                                                      on payment




                        TRUSTEE'S REPORT OF RECEIPTS AND DISBURSEMENTS
                               For the period July 01, 2017 through June 30, 2018

    Case No: 17-70697

    Debtor: RICHARD SIGMON                                      Joint Debtor:    CHERYL SIGMON
            2651 TWIN OAK CT #61                                                 2651 TWIN OAK CT #61
            DECATUR, IL 62526                                                    DECATUR, IL 62526



    Case Filed: April 27, 2017                                  Delinquency: $130.00


    Case Confirmed: August 08, 2017

    Attorney: JAY BARR
              (217) 875-5311




              RECONCILIATION OF FUNDS RECEIVED AND DISBURSED SINCE CASE FILED
                        Plan Payments Received:                                                      1,820.00

                        Disbursements:
                             Principal                    371.59
                             Interest                       67.81
                             Attorney Fee               1,081.60
                             Trustee Fee                  182.00
                                                                              1,703.00

                        Funds on Hand:                                          117.00
                                                                                                     1,820.00

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 DEBTOR:         RICHARD A SIGMON                                             JOINT DEBTOR: CHERYL A SIGMON




                                                 RECEIPTS DURING REPORTING PERIOD
Jul 26, 2017            130.00   Aug 29, 2017       130.00   Sep 27, 2017            130.00   Oct 11, 2017          130.00   Nov 17, 2017          130.00
Dec 15, 2017            130.00   Jan 25, 2018       130.00   Mar 08, 2018            130.00   Mar 28, 2018          130.00   May 01, 2018          130.00
May 30, 2018            130.00   Jun 27, 2018       130.00



                                           DISBURSEMENTS DURING REPORTING PERIOD
                                                                                Claim           Principal Paid         Interest Paid
Claim  Creditor Name                                                           Amount           Current Period        Current Period         Remaining
Number /Acct#                                           Class                 To Be Paid        /Total To Date        /Total To Date        Principal Due

001   SIU HEALTHCARE                                   Unsecured                                             0.00              0.00
       1517                                                                       200.00                      .00               .00               200.00
002   TITLEMAX OF IL INC DBA TITLEMAX                  Secured              With interest @ 5.25%        0.00
                                                                                                       371.59                  0.00
                                                                                                                              67.81
       5780            2004 CHEVY SILVERADO                                      1,262.28              371.59                 67.81               890.69
003   LVNV FUNDING LLC                                 Unsecured                                             0.00              0.00
       3121           CREDIT ONE                                                1,241.38                      .00               .00             1,241.38
004   LVNV FUNDING LLC                                 Unsecured                                             0.00              0.00
       1203           CREDIT ONE                                                  939.55                      .00               .00               939.55
005   HYUNDAI LEASE TITLING TRUST                      Unsecured                                             0.00              0.00
       6248                                                                     3,584.41                      .00               .00             3,584.41
006   PORTFOLIO RECOVERY ASSOCIATES LLC                Unsecured                                             0.00              0.00
       3385         CAPITAL ONE                                                   933.28                      .00               .00               933.28
799   JAY BARR                                         Attorney Fees                                     0.00
                                                                                                     1,081.60                  0.00
                                                                                                                                .00
                            Attorney of Record                                  3,200.00             1,081.60                   .00             2,118.40
      ILLINOIS DEPARTMENT OF REVENUE                   Priority                                              0.00              0.00
                                                                                     .00                      .00               .00          NOT FILED
      INTERNAL REVENUE SERVICE                         Priority                                              0.00              0.00
                                                                                     .00                      .00               .00          NOT FILED
      ROHI PATIL MD                                    Unsecured                                             0.00              0.00
                                                                                     .00                      .00               .00          NOT FILED
      JUSTIN PARKER MD                                 Unsecured                                             0.00              0.00
                                                                                     .00                      .00               .00          NOT FILED
      NISSAN MOTOR ACCEPTANCE                          Unsecured                                             0.00              0.00
                                                                                     .00                      .00               .00          NOT FILED
      ST MARYS HOSPITAL                                Unsecured                                             0.00              0.00
                                                                                     .00                      .00               .00          NOT FILED
      ARUN GUNDA MD                                    Unsecured                                             0.00              0.00
                                                                                     .00                      .00               .00          NOT FILED
      GATEWAY TREATMENT CENTER                         Unsecured                                             0.00              0.00
                                                                                     .00                      .00               .00          NOT FILED
      DECATUR MEMORIAL HOSP                            Unsecured                                             0.00              0.00
                                                                                     .00                      .00               .00          NOT FILED
      COMCAST                                          Unsecured                                             0.00              0.00
                                                                                     .00                      .00               .00          NOT FILED
      FIRST NATIONAL BANK                              Unsecured                                             0.00              0.00
                                                                                     .00                      .00               .00          NOT FILED
      ANESTHESIA ASSOCIATES                            Unsecured                                             0.00              0.00
                                                                                     .00                      .00               .00          NOT FILED

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 DEBTOR:         RICHARD A SIGMON                             JOINT DEBTOR: CHERYL A SIGMON


                                  DISBURSEMENTS DURING REPORTING PERIOD
                                                                Claim         Principal Paid     Interest Paid
Claim  Creditor Name                                           Amount         Current Period    Current Period    Remaining
Number /Acct#                                  Class          To Be Paid      /Total To Date    /Total To Date   Principal Due

      TIM BAILEY, MD                          Unsecured                               0.00              0.00
                                                                     .00               .00               .00         NOT FILED




Interest, late claims, Trustee fees, legal minimum time your plan must run and other factors may affect the actual
amount needed to complete your plan.

If you have any legal questions regarding your case, please contact your attorney.

John H. Germeraad
Chapter 13 Trustee




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